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                                                                           FILED
                                                                   U.S. DISTRiCT COURT
                                                                        AUGUSTA DiV.

           IN THE UNITED STATES DISTRICT COURT F0R2^^^jjQ og                        g.
                    SOUTHERN DISTRICT OF GEORGIA
                             DUBLIN DIVISION
                                                                  CLERK.
UNITED STATES OF AMERICA                 *                                         uA.
                                         *


      V.                                 *         CR 310-014-6
                                         *


STAGEY HINES                             *




                                  ORDER




      On   September      20,    2011,       Defendant        Stacey    Hines    was

sentenced    upon   his    plea   of     guilty      to   a    single    count     of

conspiracy to distribute and possess with intent to distribute

controlled    substances.         Hines      was    sentenced     to    serve    152


months followed by five years of supervised release.                               At

present, Hines has filed a renewed                   motion for a sentence

reduction under 18 U.S.C. § 3582(c)(2) based upon Amendment

782 to the United States Sentencing Guidelines.^

      Amendment 782 to the United States Sentencing Guidelines

implemented a two-level offense level reduction to a majority

of the offense levels assigned to the drug quantities set

forth in Section 2D1.1 of the Guidelines.                 However, Amendment

782 had no effect on the applicable guideline range in this

case because      Hines   was sentenced as a career offender under


Section 4Bl.l(b)(2) of the Guidelines.




      ^     The   Court    sua    sponte       considered       the     effect     of
Amendment 782 upon Hines' sentence and denied a reduction on
June 24, 2015. (Doc. No. 381.)
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      Through his motion, Hines argues that this Court can no

longer deny the two-level reduction in his base offense level

in light of the Supreme Court's recent decision in Hughes v.

United States.         U.S.       , 138 S. Ct. 1765 (2018).       In that

case, the Supreme Court held that a defendant who is sentenced

under a plea agreement authorized by Federal Rule of Criminal

Procedure 11(c)(1)(C) may seek a sentence reduction if his

sentence was "based on" a guideline range that is subsequently

reduced by the Sentencing Commission.               A sentence is "based

on" a guideline range, for this purpose, if the range was

"part of the framework" or a starting point for the district

court's sentencing decision. Id. at 1775. "If the Guidelines

range was not *a relevant part of the analytic framework the

judge   used    to determine      the    sentence    or   to approve     the

agreement,' . . . then the defendant's sentence was not based

on that sentencing range, and relief under § 3582(c)(2) is

unavailable."       Id. at 1776 (quoted source omitted).

      nines' reliance on Hughes is misplaced. First, Hines was

not   sentenced     under   a   Rule    11(c)(1)(C)    plea   agreement.

Second, the guideline range used by the Court in fashioning

Hines' sentence, U.S.S.G. § 4Bl.l(b)(2), has not been lowered.

Or, stated another way, the guideline ranges that were lowered

through Amendment 782 were not part of this Court's analytic

framework      in   determining    his    sentence.       As a result.
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regardless of the    Hughes decision, Hines remains ineligible

for a sentence reduction under Amendment 782.


      Upon the foregoing, Hines' renewed motion for reduction

of sentence (doc. no. 385) is DENIED.

      ORDER ENTERED at Augusta, Georgia, this

of August, 2018.




                                     UNITED STATED DISTRICT JUDG
